                      IN THE UNITED STATES DISTRICT COURT
                 FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                               CHARLOTTE DIVISION
                        CIVIL ACTION NO. 3:20-CV-00293-GCM
 BROOKDALE SENIOR LIVING
 COMMUNITIES, INC.,

                 Plaintiff,

    v.                                                                 ORDER

 RACHEL E. WEIR, as Executrix of the
 Estate of Jean Howard,

                 Defendant.


         This matter is before the Court upon the parties’ Joint Motion to Extend Existing

Deadlines. Having considered the Joint Motion and other wise being fully advised,

         IT IS THEREFORE ORDERED that the Joint Motion to Extend Existing Deadlines is

GRANTED. Accordingly, the following scheduling deadlines are established:

      1.       November 3, 2021:        Completion of all discovery

      2.       December 15, 2021:       Deadline for filing dispositive motions

      3.       January 15, 2022:        Deadline for filing responses to dispositive motions

      4.       February 1, 2022:        Deadline for filing replies in support of dispositive motions




                                   Signed: October 4, 2021




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